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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

MARLENA CROSBY,

       Plaintiff,
vs.

SEQUELCARE OF FLORIDA, LLC,

      Defendant.
_______________________________________/

                    COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff Marlena Crosby (hereinafter referred to as “Plaintiff”), by through

her undersigned counsel, sues the Defendant, SequelCare of Florida, LLC,

(hereinafter referred to as “Defendant”) and alleges as follows.

                          JURISDICTION AND VENUE

       1.     This is an action for damages and the Court has jurisdiction in

accordance with 28 U.S.C. § 1331 because this civil action arises under the

Constitution, laws, or treaties of the United States.

       2.     Venue lies within the United States District Court for the Middle

District of Florida, Tampa Division, in accordance with 28 U.S.C. § 1391(b) because

a substantial part of the events giving rise to this claim occurred in this judicial

district.
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                                    PARTIES

         3.   At all times material herein, Plaintiff   resided in either Pinellas

County, Florida or Hillsborough County, Florida.

         4.   At all times material herein, Defendant was and is a Florida limited

liability company, authorized to and doing business in Pinellas County, Florida.

         5.   Defendant is an “employer,” as defined by the laws under which this

action is brought.

                           FACTUAL ALLEGATIONS

         6.   According to its website, SequelCare provides mental health and

Children's Targeted Case Management services for approximately 1,000 children

and families in Florida. Additionally, SequelCare provides therapeutic foster

homes for children in the foster care system in the St. Petersburg and surrounding

areas.

         7.   SequelCare’s predecessor, Gift of Life Communities, LLC hired

Crosby in 1994. SequelCare purchased Gift of Life in 2007, and retained Crosby.

By 2022, Crosby was working for SequelCare as its Specialized Therapeutic Foster

Care (STFC) Operations Manager.

         8.   As the STFC Operations Manager, Crosby managed SequelCare’s

contract with the Florida Department of Children and Families and oversaw staff

members responsible for licensing foster homes for the children that SequelCare


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placed.

         9.    In or around October 2021, SequelCare hired Ms. Shardee Tripp to

serve as an Executive Director. At that time, Crosby reported to both Tripp and

Karen Tucker, SequelCare’s Community Based Services Program Director. Tucker

resigned on or about March 11, 2022, after which Crosby reported directly to

Tripp.

         10.   In January 2022, Crosby learned that Tripp planned to terminate the

contract for Dr. Shah, the psychiatrist that provided the psychiatric and

medication management services to the children that SequelCare placed in foster

care.     And, Crosby learned, rather than replacing Dr. Shah with another

psychiatrist, Tripp planned to contract with Mr. Kevin Williams, P.A., a

physician’s assistant (“PA”) to provide those services.

         11.   Crosby was concerned because she believed that Medicaid guidelines

and payment rules required SequelCare to provide the children it placed in foster

care with the services of a psychiatrist.

         12.   Nevertheless, and despite Crosby’s concerns, Tripp moved forward

with her plan and terminated Dr. Shah.          Following Dr. Shah’s termination,

SequelCare provided the enrolled foster children treatment through a PA rather

than through a psychiatrist.

         13.   Concerned with what she believed were improper and illegal


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Medicaid practices, Crosby contacted Mr. John Stupak, the former Chief Executive

Officer of SequelCare and a current board member for Vivant, SequelCare’s parent

company.

      14.    Stupak encouraged Crosby to share her concerns with SequelCare’s

internal compliance department. And he assured her that the company could not

retaliate against for her for raising those concerns.

      15.    Accordingly, in February 2022, Crosby contacted SequelCare’s

internal compliance department and raised concerns about SequelCare’s

compliance with certain Medicaid obligations. Specifically, Crosby objected to

SequelCare’s failure to provide the children enrolled in foster care with the

services of a licensed psychiatrist.

      16.    Shortly after Crosby raised her concerns about SequelCare’s Medicaid

compliance, Tripp began to retaliate against Crosby, criticizing her work and

assigning new work duties that materially altered the terms and conditions of

Crosby’s employment.

      17.    For example, Tripp notified her that going forward she would have

to perform an in-home visit for each of the foster children enrolled in the program.

This would require Crosby to spend a great deal of time out of the office and

drastically reduce the time that Crosby had available to complete her other duties.

This created a particular challenge because Crosby was also covering the Clinical


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Manager duties as that position that had remained vacant since November 2021.

      18.   On April 8, 2022, SequelCare terminated Crosby’s employment,

stating that they were downsizing and no longer had a need for her position.

                               COUNT I
                   FALSE CLAIMS ACT WHISTLEBLOWER

      19.   Plaintiff realleges and adopts, as if fully set forth herein, the

allegations stated in paragraphs 1 through 18.

      20.   Plaintiff took lawful actions to prevent Defendant from submitting

false claims to the United States.    Specifically, on several occasions Plaintiff

objected to Defendant’s violations of Medicaid requirements that she reasonably

believed would have resulted in the submission of false claims.

      21.   Knowing of Plaintiff’s complaints about these improper Medicaid

billing practices, Defendant took retaliatory actions and terminated Plaintiff’s

employment.

      WHEREFORE, Plaintiff demands judgment against the Defendant for all

damages and relief available under the federal law including two times back pay;

interest; reinstatement; all available compensatory damages, including those for

emotional pain and suffering; attorneys’ fees, costs, expenses; and all other relief

that this Court deems just and proper.




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                               COUNT II
                 FLORIDA’S PRIVATE WHISTLEBLOWER ACT

      22.    Plaintiff realleges and adopts, as if fully set forth herein, the

allegations stated in paragraphs 1 through 18.

      23.    This is an action for damages pursuant to Florida’s Private

Whistleblower’s Act, Section 448.102, Florida Statutes.

      24.    Pursuant to Section 448.102, Florida Statutes, an employer may not

take any retaliatory personnel action against an employee because the employee

has objected to, or refused to participate in, any activity, policy, or practice of the

employer which is in violation of a law, rule, or regulation.

      25.    In contravention of said statute, Defendant discharged Plaintiff in

direct retaliation for objecting to and/or refusing to participate in policies,

practices and activities that were violations of laws, rules and regulations.

      26.    As a result of Defendant’s unlawful acts as above-described, Plaintiff

has and will continue to incur attorneys’ fees, which are recoverable under Section

448.104, Florida Statutes.

      WHEREFORE, Plaintiff demands judgment against the Defendant for all

damages and relief available under the applicable law including compensation for

lost wages, benefits, and other renumeration; interest; emotional pain and

suffering, humiliation, and any other compensatory damages legally permitted;



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reinstatement, attorneys’ fees, costs, expenses, and all other relief that this Court

deems just and proper.

                           DEMAND FOR JURY TRIAL

      27.    Plaintiff requests a jury trial on all issues so triable.

Dated: June 30, 2022

                                         FLORIN, GRAY, BOUZAS, OWENS, LLC


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